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RE: Commonwealth of Massachusetts ex. rel. Mykel Powell, et al Brian Holmes, et al

 

Docket No.: 18-11336FDS

Dear Attorneys Smirnova and Jensen:

Enclosed please find the following with regard to the above-referenced matter:

l. Defendants Brian Holmes, James O’Connor and Donna M. McNamara’s
Response to “ Plaintiffs’ First Request For Production To Each And Every
Defendant”; and

ho

Defendants Brian Holmes, James O’Connor And Donna M. McNamara’s

Answers To “Plaintiffs’ First Interrogatories To Each And Every Defendant”

Regarding the Plaintiffs’ subsequent discovery requests served via email on December
17,2019, they were not served within the timeframe established by the Court’s scheduling order.
The Court ordered “Written discovery (requests for production of documents, interrogatories and
request for admissions) shall be served no later than December 6, 20192 As a result, the
Defendants will not provide responses to the Plaintiffs’ Rule 33 and 34 requests served in
violation of the Court’s mandate.
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Thank you for your attention to this matter. If you have any questions or concerns, please
do not hesitate to contact me.

Very truly yours,
BRODY, HARDOON, PERKINS & KESTEN, LLP
Se SY
| homas \~D VO pice
Thomas R. Donohue

TRD:nrs
Enclosures

ec. Andrew J. Gambaccini, Esq. /via email only]
